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March 17, 2021

Via ECF

Hon. Jesse M. Furman
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:          In re Citibank August 11, 2020 Wire Transfers, No. 1:20-cv-06539 (JMF) (S.D.N.Y.)

Dear Judge Furman:

I am arguing counsel for Plaintiff Citibank, N.A., in connection with its pending motion for an
injunction pending appeal, if the Court intends to hold argument. Counsel respectfully requests
that argument not be held on Thursday, March 25, or Friday, March 26, owing to a pre-existing
family obligation. I am dropping my son off at college, and must do so on those dates given
strict college COVID-19 restrictions. I have consulted with counsel for Defendants and am
authorized to state that Defendants do not oppose this request.

Counsel remains at the Court’s disposal for argument on any other date.

Respectfully submitted,

/s/ Neal Kumar Katyal

Neal Kumar Katyal

cc:          All Counsel of Record (via ECF)




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